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                                                                                                    DISTRICT OF NEBRASXA
                                                                                                    AT--M1
                                                    IN THE UNITED STATES DISTRICT COURT
                                                        FOR THE DISTRICT OF NEBRASKA


            UNITED STATES OF AMERICA,                         )
                                                              )
                                                Plaintiff,    )
                                                              )                  JUDGMENT AND
                                   vs.                        )                COMMITMENT ORDER
                                                              )       UNDER SENTENCING REFORM ACT OF 1984
            EILEEN MAIER,                                     )
                                                              )
                                                Defendant.    )

                 On February 7, 1990, in the presence of the attorney for the govern-
            ment, the defendant appeared in person with counsel, Peter K. Blakeslee.

                 DEFENDANT was found guilty on Counts I, and V-XV, inclusive, after a
            plea of not guilty.

                  Accordingly, the defendant is adjudged guilty of such counts which
             involve the following offenses:

                      Title & Section                        Nature of Offense            Count Number
                                                        Conspiracy tC>distribute and to
                               21 USC 846               possess with intent to distribute       I
                                                        cocaine, a Schedule II controlled
                                                        substance

                               21 USC 846(a) (1)        Distribution of cocaine                  V,VI,VII,VIII,IX,
                                                                                                 X,XII XIII,XIV
                               21 USC 843(b)            Use of telephone to commit
                                                        conspiracy                                        XI

                               21 USC 846(a) (1)        Possession with intent to
                                                        distribute cocaine                                xv
                 The defendant has been found not guilty on Counts II, III and IV
            and is discharged as to such counts.

                                                                    IMPRISONMENT

                 As to each of Counts I and V-X, inclusive, the defendant is hereby
            committed to the custody of the United States Bureau of Prisons to be
            imprisoned for a term of forty-eight (48) months under 18 USC 3621 and
            3624, said terms to run concurrently.

                As to Count XI, defendant is hereby committed to the custody of the
           United States Bureau of Prisons to be imprisoned for a term of forty-five
           (45) months, said term to run concurrently with the terms imposed in Counts
           I and V-X.
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         As to each of Counts XII through XV, inclusive, the defendant is
    hereby committed to the custody of the United States Bureau of Prisons to
    be imprisoned for a term of forty-eight (48) months, said terms to run
    concurrently with the terms imposed in Counts I and V through XI,
    inclusive.

              The defendant is remanded to the custody of the United States Marshal.


                                          SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised
    release for a term of five (5) years under 18 USC 3583.

         While on supervised release, the defendant shall comply with the
    standard conditions that have been adopted by this court as follows:

                          STANDARD CONDITIONS OF SUPERVISED RELEASE

    While the defendant is on probation or supervised release pursuant to this
    Judgment, defendant:

    1.   Shall not commit another federal, state or local crime;

    2.   shall not leave the judicial district or other specified geographic
         area without the permission of the court or probation officer;

    3.   shall report to the probation officer as directed by the court or
         probation officer and shall submit a truthful and complete written
         report within the first five days of each month;

    4.   shall answer truthfully to any inquiries by the probation officer and
         follow the instructions of the probation officer;

    5.   shall support his or her dependents and meet other family responsi-
         bilities;

    6.   shall work regularly at a lawful occupation unless excused by the
         probation officer for schooling, training, or other acceptable reasons;

    7.   shall notify the probation officer prior to any change in residence or
         employment;

    8.   shall not frequent places where controlled substances are illegally
         sold, used, distributed, or administered, or other places specified by
         the court;

    9.   shall not associate with any persons engaged in criminal activity, and
         shall not associate with any person convicted of a felony unless
         granted permission to do so by the probation officer;

    10. shall permit a probation officer to visit at any time at home or
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             elsewhere and shall permit confiscation of any contraband observed in
             plain view by the probation officer;
        11. shall notify the probation officer within seventy-two hours of being
            arrested or questioned by a law enforcement officer;
        12. shall not enter into any agreement to act as an informer or special
            agent of a law enforcement agency without the permission of the court;
        13. shall, as directed by the probation officer, notify third parties of
            risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics, and shall permit the probation
            officer to make such notification and to confirm the defendant's
            compliance with such notification requirement;
        14. shall not possess or control any firearms or ammunition.
               Defendant shall comply with the following additional conditions:
                                SPECIAL CONDITIONS OF SUPERVISED RELEASE
             1. Defendant shall not use or possess alcoholic beverages or
        controlled substances during the entire period of supervised release except
        those medicines prescribed by a physician.
             2. Defendant shall submit to chemical testing at the request of the
        supervising probation officer to detect the presence of alcohol or
        controlled substance in the defendant's body fluid.
             3. Defendant shall be subject to any reasonable search of the
        defendant's premises, vehicle or person, day or night, with or without a
        warrant, at the request of the supervising probation officer to determine
        the presence of alcoholic beverage or controlled substances and seizure of
        alcoholic beverages or controlled substances found there. The probation
        officer may invoke this with or without the cooperation of law enforcement
        officers.
             4. Defendant shall attend and successfully complete any counseling
        treatment or evaluation programs as deemed necessary by the supervising
        probation officer.
             5. Defendant shall perform 100 hours of volunteer unpaid community
        service during the first year of supervised release in a manner to be
        arranged by the probation officer.
             6. Defendant shall pay 1/7 of the costs of prosecution if not paid
        earlier as required hereafter in this judgment.
             7. Defendant shall pay to the United States a special assessment as
        required by 18 USC 3013 in the amount of $600.00 if not paid earlier as
        required hereafter in this judgment.
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      8. Defendant shall pay to the United States a fine in the sum of
 $5000.00 on a schedule to be developed by the probation office if not paid
 earlier as required hereafter in this judgment.

      IT IS FURTHER ORDERED that the defendant shall pay 1/7 of the costs of
 prosecution, payable immediately upon taxation.

      IT IS FURTHER ORDERED that the defendant shall pay to the United
 States a special assessment as required by 18 USC 3013 in the amount of
 $600.00 which shall be due immediately.

      IT IS FURTHER ORDERED that the defendant shall pay the United States a
 fine in the sum of $5000.00 which shall be due immediately.

      IT IS FURTHER ORDERED that the defendant shall notify the United
 States Attorney for this district within 30 days of any change of residence
 or mailing address until all fines, restitution, costs, and special
 assessments imposed by this Judgment are fully paid.

 Defendant's Soc.Sec.Number:                   Defendant's mailing address:

         XXX-XX-XXXX                              1300 G Street, Apt. 103 E
                                                  Lincoln, Nebraska


 DATED: February 7, 1990.

                                               BY THE COURT


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                                               warren K. urbo~  ~       -

                                               United States District Judge
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